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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION
                          Case No. 8:25-cv-01119-MSS-LSG


  Proven Industries, Inc., a Florida corporation,
       Plaintiff,

         v.

 Trevor McNally, individual,
        Defendant.

                         /


                     PLAINTIFF’S MOTION FOR LEAVE
                   TO FILE FIRST AMENDED COMPLAINT

    Plaintiff, Proven Industries, Inc. ("Plaintiff"), pursuant to Federal Rule of Civil

 Procedure 15(a)(2), respectfully moves for leave to amend its Complaint, and in

 support states:

                                     Legal Standard

       1.     Federal Rule of Civil Procedure 15(a)(2) provides that if an amendment

 to a pleading is not permitted as of course, such amendment may be made only by

 leave of court or by written consent of the adverse party. Fed. R. Civ. P. 15(a)(2).
 Leave to amend should be "freely given when justice so requires" unless there is an

 "apparent or declared reason" to deny it such as "undue prejudice to the opposing

 party." Pinnacle Adver. v. Pinnacle Adver. &amp; Mktg. Grp., LLC, 7 F.4th 989, 1000 (11th

 Cir. 2021)(citing Foman v. Davis, 371 U.S. 178, 83 S.Ct. 227, 9 L.Ed.2d 222 (1962)).

       2.     Although granting leave to amend lies within the district court’s

 discretion, the Eleventh Circuit has emphasized that this discretion should ordinarily
 be exercised in favor of allowing amendments to ensure disputes are resolved on the
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 merits. Pinnacle Adver., 7 F.4th at 1000 (citing Shipner v. E. Air Lines, Inc., 868 F.2d 401,
 406–07 (11th Cir. 1989)(explaining that Rule 15’s policy of "liberally permitting

 amendments to facilitate [the] determination of claims on the merits circumscribes the

 exercise of the district court's discretion"). If the facts or circumstances presented by a
 plaintiff could support a valid claim, the plaintiff should be given a fair opportunity to

 pursue that claim on the merits. Foman, 371 U.S. 178. Courts in the Eleventh Circuit

 should routinely grant leave to amend unless there is “undue delay, bad faith or

 dilatory motive, repeated failure to cure deficiencies by amendments previously

 allowed, undue prejudice to the opposing party, or futility of amendment.” See Id.

                                          Background
         3.    Plaintiff filed the original Complaint in this action on May 17, 2025. [DE

 001].

         4.    On 23 May 2025, Defendant Trevor McNally posted a second video to

 his social media channels.

         5.    On 25 May 2025, Defendant Trevor McNally posted a third video to his

 social media channels.

         6.    On 28 May 2025, Defendant Trevor McNally posted a fourth video to

 his social media channels.

         7.    On 31 May 2025, Defendant Trevor McNally posted a fifth video to his
 social media channels.

         8.    On 2 June 2025, Plaintiff filed an Emergency Motion for Preliminary

 Injunction [DE 10].




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         9.    On the same day that Plaintiff filed its Emergency Motion for
 Preliminary Injunction [DE 010], Defendant Trevor McNally posted a sixth video to

 his social media channels.

         10.   On 3 June 2025, the Court issued an Order Setting Hearing [DE 012] and
 a Notice of Hearing [DE 13].

         11.   On 6 June 2025, Defendant Trevor McNally filed its Response to

 Plaintiff's Emergency Motion for Preliminary Injunction [DE 014].

         12.   On 10 June 2025, Plaintiff's filed its Reply to Response to Motion [DE

 017].

                                         Argument
         13.   This is Plaintiff’s first request for leave to amend. Plaintiff seeks to amend

 the Complaint to incorporate Defendant’s continued and escalating course of conduct,

 namely, the posting of five additional videos following the initial Complaint. Had

 Plaintiff amended its pleading each time a new video was posted, this would be its fifth

 motion to amend its Complaint. Instead, Plaintiff now seeks a single amendment to

 capture the entirety of Defendant’s ongoing misconduct.

         14.   Leave to amend is warranted because the proposed amendment arises

 from facts that developed after the filing of the original Complaint and remain within

 the same nucleus of operative facts already pleaded. Since May 17, 2025, Defendant
 has published five additional videos that perpetuate the same unlawful conduct and

 theories of liability asserted in the original Complaint.

         15.   The amendment is timely and grounded in Defendant’s continued course

 of conduct. No answer has been filed, and discovery has not yet commenced.

 Defendant cannot claim surprise or prejudice, particularly as the additional videos are



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 already addressed in Plaintiff’s pending Motion for Preliminary Injunction and
 supporting declarations and Defendant is fully aware of these videos because he posted

 them and also discussed five of the six videos in his Declaration of Trevor McNally.

 [DE 15].1 Therefore, Defendant will not be prejudiced from allowing the amendment.
            16.     Plaintiff anticipates that Defendant may continue publishing similar

 content during the pendency of this action. Plaintiff respectfully requests that the Court

 continue to liberally grant leave to amend to address any future conduct that may give

 rise to additional claims or liability.

            17.     Because the amendment is based on newly developed facts, causes no

 undue delay, and imposes no prejudice, leave should be granted to allow this case to
 proceed on the merits.

 WHEREFORE, Plaintiff, Proven Industries Inc., respectfully requests that this Court:

        a. Grant Plaintiff leave to file its First Amended Complaint, attached hereto as

            Exhibit 1;

        b. Deem the First Amended Complaint filed as of the date of the Court’s order

            granting this Motion;

        c. Direct Defendant to respond to the First Amended Complaint within the time

            permitted under the Federal Rules of Civil Procedure; and

        d. Grant such further relief as the Court deems just and proper.
                                     Local Rule 3.01(g) Certification

            Pursuant to Local Rule 3.01(g), undersigned counsel certifies that counsel for

 Plaintiff conferred with Defendant’s counsel by email on June 10th regarding the relief

 requested in this motion. Defendant’s counsel opposes the requested relief.


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     Defendant’s June 2nd video is the only video Defendant did not discuss in his Declaration of Trevor McNally.


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    Dated: June 12, 2025                 Respectfully Submitted,


                                         /Derek Fahey/
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                                 Certificate of Service

       I HEREBY CERTIFY that on 12 June 2025 a true and correct copy of the
 foregoing was served to all counsel of record via email and by filing with the Clerk of

 the Court using Florida E-Filing Portal, on all counsel or parties of record.


       /Derek Fahey/
       Derek Fahey, Esq.




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